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16   TELESIGN CORPORATION

17                              UNITED STATES DISTRICT COURT

18                  NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION

19   TWILIO INC.,                      )
                                       ) Case No. 5:16-cv-6925-LHK
20             Plaintiff,              )
     v.                                )
21                                     ) DECLARATION OF DANIEL STAREN IN
     TELESIGN CORPORATION,             ) SUPPORT OF TELESIGN’S MOTION TO
22                                       COMPEL AMENDED DAMAGES
               Defendant.              ) CONTENTIONS FROM TWILIO
                                       )
23                                     ) Date: November 14, 2017
24                                     ) Time: 10:00am
                                       ) Judge: Hon. Mag. Susan van Keulen
25                                     ) Crtrm: Courtroom 6, 4th Floor
                                       )
26                                     ) [Filed concurrently herewith:
                                       ) Motion to Compel Amended Damages
27                                     ) Contentions]
                                       )
28                                     )
      DECLARATION OF DANIEL STAREN IN SUPPORT OF TELESIGN’S MOTION TO COMPEL
                                 AMENDED DAMAGES CONTENTIONS FROM TWILIO
                                                              Case No: 5:16-cv-6925-LHK
         Case 5:16-cv-06925-LHK Document 121-1 Filed 09/21/17 Page 2 of 3




1    I, Daniel M. Staren, declare as follows:
2           1.      I am an attorney duly licensed to practice law in the State of Missouri and have been

3    admitted to the United States District Court for the Northern District of California to appear pro hac

4    vice on behalf of Defendant TeleSign Corporation for the above-captioned matter. I am an associate

5    at the law firm of Shook, Hardy & Bacon L.L.P., attorneys of record for TeleSign.

6           2.      I make this declaration in support of TeleSign’s Motion to Compel Damages

7    Contentions from Twilio. All of the facts stated herein are based upon my own personal knowledge

8    and knowledge reasonably available to me and, if called to testify, I would and could competently

9    testify as to all facts stated herein from my own personal knowledge and knowledge reasonably

10   available to me.

11          3.      After Twilio conferred with KDDI counsel, Twilio produced the KDDI agreement on

12   August 23, 2017.

13          4.      Attached as Exhibit A is a true and correct copy of an email from J.B. Schiller to

14   Mary Jane Peal, dated August 22, 2017.

15          5.      Attached as Exhibit B is a true and correct copy of an email from Mary Jane Peal to

16   J.B. Schiller, dated June 30, 2017.

17          6.      Attached as Exhibit C is a true and correct copy of an email from J.B. Schiller to

18   Mary Jane Peal, dated June 30, 2017.

19          7.      Attached as Exhibit D is a true and correct copy of an email from J.B. Schiller to

20   Mary Jane Peal, dated July 26, 2017.

21          8.      Attached as Exhibit E is a true and correct copy of an email from Mary Jane Peal to

22   J.B. Schiller, dated July 27, 2017.

23          9.      Attached as Exhibit F is a true and correct copy of a letter from Mary Jane Peal to

24   Wayne Stacy, dated August 8, 2017.

25          I declare under penalty of perjury under the laws of the State of California and the United

26   States of America that the foregoing is true and correct to the best of my understanding based on the

27
                                       2
28   DECLARATION OF DANIEL STAREN IN SUPPORT OF TELESIGN’S MOTION TO COMPEL
                                AMENDED DAMAGES CONTENTIONS FROM TWILIO
                                                        Case No: 5:16-cv-6925-LHK
         Case 5:16-cv-06925-LHK Document 121-1 Filed 09/21/17 Page 3 of 3




1    information available to me at this time. This declaration is executed on this 21st day of September,

2    2017, in Kansas City, Missouri.

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                                                  __________________________
                                                      /s/ Daniel M. Staren
4                                                         Daniel M. Staren
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28   DECLARATION OF DANIEL STAREN IN SUPPORT OF TELESIGN’S MOTION TO COMPEL
                                AMENDED DAMAGES CONTENTIONS FROM TWILIO
                                                        Case No: 5:16-cv-6925-LHK
